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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                      January 23, 2025
                     IN THE UNITED STATES DISTRICT COURT
                                                                                     Nathan Ochsner, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

JOANNA BURKE,                                  §
     Plaintiff,                                §
                                               §
v.                                             §
                                               §           Civil Action No. 4:24-CV-0897
                                               §
PHH MORTGAGE CORPORATION,                      §
    Defendant.                                 §

                    MEMORANDUM AND RECOMMENDATION

          Plaintiff, a veteran litigant proceeding pro se, initiated this case in state court

on December 21, 2023, as part of her approximately 14-year effort to thwart

foreclosure on residential property located in Kingwood, Texas (Property).1 ECF 1-

4; See also ECF 18, ECF 33-3 at 36-37. Before the Court is PHH Mortgage

Corporation’s Motion for Summary Judgment.2 ECF 27. The Court recommends

the Motion for Summary Judgment be GRANTED and this case be dismissed with

prejudice.

     I.      Procedural Background

          The instant case has been pending in this court only since April 2024, but its

procedural history goes back to 2007. On May 21, 2007, Plaintiff and her husband,


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  The District Judge referred this case to the undersigned Magistrate Judge pursuant to 28 U.S.C.
§ 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the Civil Justice Reform Act,
and Federal Rule of Civil Procedure 72. ECF 26.
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  The Court has dismissed all other Defendants. ECF 23.
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John Burke (deceased), executed a $615,000.00 home equity note secured by deed

of trust on the Property. In 2010, the Burkes stopped making payments on the loan,

paying taxes, and paying insurance. In the ensuing years, the holders of the note and

deed of trust have been attempting to foreclose on the Property.

      The Burkes’ first lawsuit was filed by counsel in Texas state court and, after

the defendant removed the case to federal court, the Burkes voluntarily dismissed

the suit without prejudice on March 4, 2011. Burke v. IndyMac Mort. Servs., Civil

Action No. 4:11-cv-00341. On April 29, 2011, Deutsche Bank National Trust Co.,

in its capacity as assignee of the note and deed of trust, filed suit against the Burkes

in federal court seeking an order of foreclosure. Deutsche Bank Nat'l Tr. Co. v.

Burke, Civil Action No. 4:11-CV-01658 (ECF 1). After lengthy litigation, the case

finally concluded when the Fifth Circuit ruled in favor of Deutsche Bank and

remanded the case to the district court for the sole purpose of entering an Order of

Foreclosure to effectuate the Fifth Circuit’s judgment, which the district court did

on November 29, 2018. Id. at ECF 145. The United States Supreme Court denied

review. Id. at ECF 146.

      The Burkes filed four more lawsuits, including one in Minnesota, and Joanna

Burke filed two bankruptcy cases and an adversary proceeding, all of which were

dismissed. See ECF 27 at 4-8 (listing cases). Joanna Burke also unsuccessfully




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attempted to intervene in other, unrelated litigation at least four times. Id. By PHH’s

count, the instant case is the seventh lawsuit involving the Burke’s Property. Id.

         Joanna Burke initiated this case in state court on December 21, 2023 to

prevent the impending January 2, 2024 foreclosure sale of the Property. ECF 1-4 at

2. Plaintiff’s operative pleading is the Third Amended Verified Petition and Second

Application for Ex-Parte Temporary Restraining Order and Permanent Injunction by

Joanna Burke, filed in state court on March 4, 2024. Id. at 393-500. Plaintiff’s 100-

plus page pleading asserts many allegations and seeks consequential and punitive

damages in an unspecified amount, declaratory judgment, and injunctive relief “to

prevent defendants from unlawfully selling her homestead, in violation of Texas

laws.” Id. at 498-99.

   II.      Summary Judgment Standards

         Summary judgment is appropriate if no genuine issues of material fact exist,

and the moving party is entitled to judgment as a matter of law. FED. R. CIV. P.

56(a). The party moving for summary judgment has the initial burden to prove there

are no genuine issues of material fact for trial. Provident Life & Accident Ins. Co.

v. Goel, 274 F.3d 984, 991 (5th Cir. 2001). Dispute about a material fact is

“genuine” if the evidence could lead a reasonable jury to find for the nonmoving

party. Hyatt v. Thomas, 843 F.3d 172, 177 (5th Cir. 2016). “An issue is material if

its resolution could affect the outcome of the action.” Terrebonne Parish Sch. Bd.


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v. Columbia Gulf Transmission Co., 290 F.3d 303, 310 (5th Cir. 2002). If the

moving party meets its initial burden, the nonmoving party must go beyond the

pleadings and must present evidence such as affidavits, depositions, answers to

interrogatories, and admissions on file to show “specific facts showing that there is

a genuine issue for trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986).

      The court construes the evidence in the light most favorable to the nonmoving

party and draws all reasonable inferences in that party’s favor. R.L. Inv. Prop., LLC

v. Hamm, 715 F.3d 145, 149 (5th Cir. 2013). In ruling on a motion for summary

judgment the Court does not “weigh evidence, assess credibility, or determine the

most reasonable inference to be drawn from the evidence.” Honore v. Douglas, 833

F.2d 565, 567 (5th Cir. 1987). However, “[c]onclus[ory] allegations and denials,

speculation, improbable inferences, unsubstantiated assertions, and legalistic

argumentation do not adequately substitute for specific facts showing a genuine

issue for trial.” U.S. ex rel. Farmer v. City of Houston, 523 F.3d 333, 337 (5th Cir.

2008) (citation omitted).

   III.   Analysis

      Despite the November 29, 2018 judgment authorizing foreclosure, Joanna

Burke filed the Third Amended Petition in state court asserting the following causes

of action: (1) violation of the Texas Constitution; (2) malicious abuse of process;

(3) conspiracy; (4) fraud; (5) intentional infliction of emotional distress; (6) mental


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anguish; (7) violation of the Texas Debt Collection Act; and (8) quiet title. ECF 1-

4 at 476-491. Plaintiff seeks declaratory judgment and injunctive relief preventing

foreclosure. Id. at 491-96. PHH moves for summary judgment on all of Plaintiff’s

claims based both on res judicata and on the merits. In her Summary Judgment

Response and Surreply, Plaintiff argues that PHH’s efforts to foreclose on the

Property are time-barred under Texas Civil Properties and Remedies Code § 16.035,

which establishes a four-year limitations period for foreclosure of contractual liens.

ECF 40; ECF 44.

      A.     PHH’s Foreclosure Efforts are Timely.

      Section 16.035 of the Texas Civil Practices and Remedies Code provides:

      (a) A person must bring suit for the recovery of real property under a
          real property lien or the foreclosure of a real property lien not later
          than four years after the day the cause of action accrues.

      (b) A sale of real property under a power of sale in a mortgage or deed
          of trust that creates a real property lien must be made not later than
          four years after the day the cause of action accrues.

TEX. CIV. PRAC. & REM. CODE § 16.035. Plaintiff misunderstands PHH’s position.

PHH is not attempting to foreclose under a real property lien; the lien has already

been foreclosed. PHH is attempting to execute on a judicial foreclosure order. The

Fifth Circuit recently addressed this situation in Couch v. Bank of New York Mellon,

No. 24-10297, 2024 WL 4471309, at *1 (5th Cir. Oct. 11, 2024). Like Ms. Burke,

the Couches argued that § 16.035 requires mortgagees to file suit and hold a


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foreclosure sale within four years. Id. The Fifth Circuit held that is not the law in

Texas. Id. (citing Slay v. Nationstar Mortg., L.L.C., No. 2-09-052-CV, 2010 WL

670095, at *3 (Tex. App.—Fort Worth Feb. 25, 2010, pet. denied) (holding that §

16.035(a) “does not require that the actual foreclosure occur within the four-year

limitation period, but rather, requires only that the party seeking foreclosure ‘bring

suit ... not later than four years after the day the cause of action accrues.’”)); see also

Holcomb v. Specialized Loan Servicing, LLC, No. 3:21-CV-00210, 2024 WL

4124698, at *3 (S.D. Tex. Sept. 9, 2024) (holding it is “simply not the law” that a

foreclosure sale must occur within four years of the entry of the foreclosure judgment

(citing Metcalf v. Wilmington Sav. Fund Soc'y, FSB, No. 03-16-00795-cv, 2017 WL

1228886, at *4 (Tex. App.—Austin Mar. 29, 2017, pet. denied))).

       PHH’s statute of limitations to execute on the foreclosure judgment is

governed by Texas Civil Practice and Remedies Code § 34.001, which provides:

       (a) If a writ of execution is not issued within 10 years after the rendition
           of a judgment of a court of record or a justice court, the judgment
           is dormant and execution may not be issued on the judgment unless
           it is revived.

Holcomb, 2024 WL 4124698, at *3 n.4; see also Andrews v. Roadway Exp. Inc., 473

F.3d 565, 568-69 (5th Cir. 2006) (state law applies to the time for executing a federal

judgment and under Texas Civil Practice and Remedies Code § 34.001 a judgment

is “dormant” if no writ of execution is issued within ten years after the date of the



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judgment). The final Foreclosure Order was entered on November 29, 2018. PHH’s

current efforts to execute on the Foreclosure Order are not time-barred.

      B. Plaintiff’s Attempts to Prevent Foreclosure are Barred by Res
         Judicata.

             1. Legal Standards

      The doctrine of res judicata bars the litigation of claims that either have been

litigated or should have been raised in an earlier suit. Crotts v. Freedom Mortg.

Corp., No. 4:23-CV-04828, 2024 WL 3938926, at *5 (S.D. Tex. Aug. 6, 2024),

report and recommendation adopted, No. 4:23-CV-04828, 2024 WL 3939585 (S.D.

Tex. Aug. 26, 2024) (citing Test Masters Educ. Servs., Inc. v. Singh, 428 F.3d 559,

571 (5th Cir. 2005)).     Because Plaintiff is asserting state law claims, Texas

preclusion principals apply, but the elements of res judicata under Texas law are

substantively identical to federal law. Id. The doctrine of res judicata bars claims

when: (1) the parties are identical or in privity; (2) the judgment in the prior action

was rendered by a court of competent jurisdiction; (3) the prior judgment was a final

judgment on the merits; and (4) the second action is based on claims that were or

could have been raised in the first action. Id.; Test Masters Educ. Servs., Inc. v.

Singh, 428 F.3d 559, 571 (5th Cir. 2005).




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             2. Application of Res Judicata Factors

      The November 29, 2018 final judgment in favor of Deutsche Bank in Civil

Action No. 4:11-cv-01658 precludes this case.

                   (1) Privity

      Joanna Burke was a defendant in Civil Action No. 4:11-cv-01658. PHH is

the successor in interest to Deutsche Bank, the plaintiff in 4:11-cv-01658. The Fifth

Circuit has held that privity exists for purposes of res judicata where a non-party in

a prior action is the successor in interest to a party's interest in property. Meza v.

Gen. Battery Corp., 908 F.2d 1262, 1266 (5th Cir. 1990); see also Sampson v. U.S.

Bank NA as Tr. for Truman 2016 SC6 Title Tr., No. 420CV00493ALMCAN, 2021

WL 1321343, at *6 (E.D. Tex. Mar. 15, 2021), report and recommendation adopted,

No. 4:20-CV-493, 2021 WL 1316969 (E.D. Tex. Apr. 8, 2021).                  The first

requirement for res judicata is met because privity exists between all parties in the

prior and current lawsuit.

                   (2) Competent Jurisdiction

      The United States District Court for the Southern District of Texas was a court

of competent jurisdiction for Civil Action No. 4:11-cv-01658. The district court

exercised diversity jurisdiction in Civil Action No. 4:11-cv-01658 because the

Plaintiff corporation was a citizen of California and defendants, including Joanna

Burke, were citizens of Texas. Civil Action No. 4:11-cv-01658 (ECF 1). The Fifth


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Circuit exercised jurisdiction in defendants’ appeals, confirming that the district

court in the Southern District of Texas was a court of competent jurisdiction.

Therefore, the second requirement for application of res judicata is met.

                    (3) Final Judgment on the Merits

       The Fifth Circuit ruled on the merits of Plaintiff’s claim in Civil Action No.

4:11-cv-01658, holding that Plaintiff Deutsche Bank was entitled to an order

authorizing foreclosure on the Property. ECF 144. Following the express direction

of the Fifth Circuit, the district court entered a final Order in Civil Action No. 4:11-

cv-01658 on November 29, 2018. ECF 145. The case finally and completely

concluded on May 28, 2019 when the United States Supreme Court denied a writ of

certiorari. ECF 146. Thus, the third requirement for application of res judicata is

met.

                    (4) Identity of Claims

       The Fifth Circuit applies a transaction test to determine the identity of claims

for purposes of res judicata. Sacks v. Texas S. Univ., 83 F.4th 340, 344 (5th Cir.

2023). The critical issue in the analysis is “whether the two actions are based on the

‘same nucleus of operative facts.’” Id. (citation omitted). The prior case and this

case are both based on Plaintiff’s default on the 2007 loan and efforts to foreclosure

on the Property. Although Plaintiff’s Third Amended Complaint includes a laundry

list of allegations, all of her claims and the relief she seeks stem from the foreclosure


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efforts on the 2007 loan and were or could have been raised in Civil Action 4:11-cv-

01658.

      Res judicata bars all claims in this case relating to foreclosure, including

claims for declaratory and injunctive relief, because all claims are based on the same

premise—that PHH has no legal right to foreclose on the Property.

      C. No Genuine Issue of Material Fact Exists for Trial on any Claim.

      Res judicata does not extinguish claims based on wrongs that occurred after

the prior final judgment. Id. at 345. To the extent some of Plaintiff’s claims purport

to seek relief for actions that occurred after November 2018, they are without merit

and are addressed succinctly below.

             1. Violation of the Texas Constitution

      Plaintiff alleges that PHH’s actions constitute elder abuse and denial of equal

protection and due process in violation of Article I, §§ 3a, 9, and 19 of the Texas

Constitution. See ECF 1-4 at 475-81. Burke’s claim for violation of the Texas

Constitution is barred by res judicata to the extent it alleges harm due to attempts to

foreclosure on the Property. Moreover, in addition to the total lack of evidentiary

support for such claims, Plaintiff’s claims cannot survive summary judgment

because the Texas Constitution does not create a private right of action against

private entities for damages. Daniels v. City of Arlington, Tex., 246 F.3d 500, 507

(5th Cir. 2001); see also City of Beaumont v. Bouillion, 896 S.W.2d 143, 147 (Tex.


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1995); Chapman v. ADT LLC, No. 3:22-CV-2188-D-BN, 2023 WL 9953451, at *4

(N.D. Tex. Dec. 28, 2023), report and recommendation adopted, No. 3:22-CV-2188-

D, 2024 WL 920074 (N.D. Tex. Mar. 4, 2024).

             2. Malicious Abuse of Process

      Abuse of process “applies to a situation where a properly issued service of

process is later used for a purpose for which it was not intended.” Martinez v. Eng.,

267 S.W.3d 521, 528–29 (Tex. App.—Austin 2008, pet. denied). The elements of

an abuse of process claim under Texas law are: “(1) an illegal, improper, or perverted

use of the process, neither warranted nor authorized by the process, (2) an ulterior

motive or purpose in exercising such use, and (3) damages as a result of the illegal

act.” Preston Gate, LP v. Bukaty, 248 S.W.3d 892, 897 (Tex. App.—Dallas 2008,

no pet.). “The critical aspect of this tort is the improper use of the process after it

has been issued.” Id. “Process” refers “to the range of procedures incident to

litigation.” LaCore Enterprises, LLC v. Angles, No. 05-21-00798-CV, 2023 WL

2607562, at *10 (Tex. App. Mar. 23, 2023). Ms. Burke has presented no evidence

to support an abuse of process claim against PHH for attempting to enforce its valid

judgment of foreclosure.

             3. Conspiracy

      Plaintiff alleges that PHH and the former Defendants engaged in a conspiracy

to damage Plaintiff. “An actionable civil conspiracy is a combination by two or


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more persons to accomplish an unlawful purpose or to accomplish a lawful purpose

by unlawful means.” Massey v. Armco Steel Co., 652 S.W.2d 932, 934 (Tex. 1983);

Midwestern Cattle Mktg., L.L.C. v. Legend Bank, N. A., 800 F. App'x 239, 248 (5th

Cir. 2020) (listing the elements as: “(1) two or more persons; (2) an object to be

accomplished; (3) a meeting of minds on the object or course of action; (4) one or

more unlawful, overt acts; and (5) damages as the proximate result.”).

      Again, to the extent she alleges a claim of conspiracy to foreclose on the

Property, it is barred by res judicata. Further, because PHH holds a valid judgment,

attempts to sell the Property at a foreclosure are not in furtherance of an unlawful

purpose. Therefore, Defendant is entitled to summary judgment on Plaintiff’s

conspiracy claim.

            4. Fraud

      The elements of fraud under Texas law are:

      (1) that a material representation was made; (2) the representation was
      false; (3) when the representation was made, the speaker knew it was
      false or made it recklessly without any knowledge of the truth and as a
      positive assertion; (4) the speaker made the representation with the
      intent that the other party should act upon it; (5) the party acted in
      reliance on the representation; and (6) the party thereby suffered injury.

Italian Cowboy Partners, Ltd. v. Prudential Ins. Co. of Am., 341 S.W.3d 323, 337

(Tex. 2011). The Court cannot discern from Plaintiff’s Third Amended Petition or

Response what false material representation PHH (or its predecessor) is alleged to

have made and on which Plaintiff justifiably relied to her detriment. To the extent
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Ms. Burke is alleging fraud related to foreclosure, the claim is barred by res judicata.

Ms. Burke has presented no evidence of fraud by PHH and summary judgment

should be granted on this claim.

             5. Intentional Infliction of Emotional Distress and Mental Anguish

      The tort of intentional infliction of emotional distress (IIED) has four

elements: (1) the defendant acted intentionally or recklessly; (2) its conduct was

extreme and outrageous; (3) its actions caused the plaintiff emotional distress; and

(4) the emotional distress was severe. Hersh v. Tatum, 526 S.W.3d 462, 468 (Tex.

2017). The Texas Supreme Court has defined “extreme and outrageous conduct” as

conduct “so outrageous in character, and so extreme in degree, as to go beyond all

possible bounds of decency, and to be regarded as atrocious, and utterly intolerable

in a civilized community.” Id.; Tiller v. McLure, 121 S.W.3d 709, 713 (Tex. 2003).

Mental anguish is a type of damages recoverable for certain torts, such as IIED, but

does not constitute an independent claim. SCI Texas Funeral Servs., Inc. v. Nelson,

540 S.W.3d 539, 546 (Tex. 2018) (holding that “mental anguish damages may be

available when they are ‘caused by defendant's breach of some other legal duty.’”

(citation omitted)).

      Ms. Burke has presented no evidence to support an IIED claim against PHH.

“Texas courts have made clear that conduct associated with exercising a legal right

is privileged and cannot be the basis for an IIED claim.” Hines v. Wells Fargo Bank,


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N.A., No. CIV.A. H-13-00167, 2013 WL 5786473, at *7 (S.D. Tex. Oct. 28, 2013)

(citations to Texas cases omitted). PHH is entitled to summary judgment on

Plaintiff’s IIED claim.

             6. Texas Debt Collection Act

      Plaintiff also alleges a cause of action under TEX. FIN. CODE § 392.403 (a)(2)

of the Texas Debt Collection Act, (TDCA). Plaintiff alleges that PHH violated the

TDCA by attempting to foreclose on the Property without the legal right to do so.

ECF 1-4 at 488-89.

      The TDCA prohibits mortgage services from threatening foreclosure only to

the extent the threatened foreclosure is prohibited by law. See Rucker v. Bank of

Am., N.A., 806 F.3d 828, 831 (5th Cir. 2015) (explaining that a mortgage servicer

does not violate the TDCA if it has the right to foreclose and the mortgagee is in

default). Because it is well-established that Burke defaulted on her mortgage and

that the November 29, 2018 foreclosure Order gives PHH the legal right to foreclose,

PHH is entitled to summary judgment on this claim.

             7. Quiet Title

      “The elements of a quiet title claim include: “‘(1) an interest in a specific

property, (2) title to the property is affected by a claim by the defendant, and (3) the

claim, although facially valid, is invalid or unenforceable.’” Vallier v. Nationstar

Mortg., LLC, No. CV H-17-0998, 2018 WL 1319166, at *6 (S.D. Tex. Feb. 1, 2018),


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report and recommendation adopted, No. 4:17-CV-0998, 2018 WL 1322247 (S.D.

Tex. Mar. 13, 2018) (citation omitted). “In a trespass-to-try-title action, a plaintiff

may prove legal title by establishing: (1) a regular chain of title of conveyances from

the sovereign to the plaintiff; (2) a superior title to that of the defendant out of a

common source; (3) title by limitations (i.e., adverse possession); or (4) possession

that has not been abandoned.” Brumley v. McDuff, 616 S.W.3d 826, 832 (Tex.

2021). Special pleading requirements govern trespass-to-try title actions and in

order to prevail on a claim to quiet title or for trespass-to-try-title, Plaintiff bears the

burden to prove she has title to the Property that is superior PHH’s title. Id.; Vallier,

2018 WL 1319166, at *6. Plaintiff’s title to the Property has always been subject to

the deed of trust secured by the Property. Plaintiff has wholly failed to meet her

burden to present evidence showing she holds superior title to PHH.

       In Plaintiff’s Summary Judgment Response, she argues that her claim is in the

nature of trespass-to-try-title by adverse possession. ECF 35 at 17. Texas law

requires a party claiming title to property by adverse possession to show “(1) actual

and (2) visible possession that is (3) under a claim of right, (4) hostile to another's

claim to the property, and (5) peaceable for the applicable limitations period.”

Luminant Mining Co., L.L.C. v. PakeyBey, 14 F.4th 375, 380 (5th Cir. 2021) (citing

Nat. Gas Pipeline Co. of Am. v. Pool, 124 S.W.3d 188, 193 (Tex. 2003)). “Peaceable

possession is ‘possession of real property that is continuous and is not interrupted by


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an adverse suit to recover the property.’” Id. (citing TEX. CIV. PRAC. & REM. CODE

§ 16.021(3)).

       There is no question that Plaintiff is in possession of the Property under a

claim of right that is hostile to PHH’s claim of right and has been in such possession

for over ten years. What Plaintiff cannot show is that her possession has been

“peaceable.” PHH, through its predecessor, brought an adverse suit to recover the

Property and, within the statutory period to thwart any claim for adverse possession,

PHH’s predecessor prevailed. PHH is entitled to summary judgment on Plaintiff’s

claim for quiet title and/or trespass-to-try-title.

              8. Declaratory and Injunctive Relief

       Claims for declaratory and injunctive relief are not freestanding claims and

they must be supported by an underlying cause of action. Reyes v. N. Texas Tollway

Auth., (NTTA), 861 F.3d 558, 565 (5th Cir. 2017) (citing Harris County Texas v.

MERSCORP, Inc., 791 F.3d 545, 552 (5th Cir. 2015) (“[T]he Declaratory Judgment

Act alone does not create a federal cause of action.”) and Crook v. Galaviz, 616 F.

A'ppx. 747, 753 (5th Cir. 2015) (“As an injunction is a remedy that must be

supported by an underlying cause of action”)). The failure of Plaintiff’s independent

claims dooms her claims for declaratory and injunctive relief.




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   IV.    Conclusion and Recommendation

      In sum, no dispute of material fact exists as to any claim in this case. Ms.

Burke’s “evidence” consists of immaterial assertions and “[c]onclus[ory] allegations

and denials, speculation, improbable inferences, unsubstantiated assertions, and

legalistic argumentation,” which does not present a genuine issue for trial. U.S. ex

rel. Farmer v. City of Houston, 523 F.3d 333, 337 (5th Cir. 2008). It is undisputed

that Joanna Burke has not made a mortgage loan payment since 2010. Six years ago,

the Fifth Circuit held that “[g]iven nearly a decade of free living by the Burkes, there

is no injustice in allowing that foreclosure to proceed.” Deutsche Bank Nat'l Tr. Co.

v. Burke, 902 F.3d 548, 552 (5th Cir. 2018). Ms. Burke has presented no evidence

demonstrating the situation described by the Fifth Circuit has changed.

      For all the reasons set forth above, the Court RECOMMENDS that PHH’s

Motion for Summary Judgment (ECF 27) be GRANTED and all of Plaintiff’s claims

be DISMISSED WITH PREJUDICE.

      The Clerk of the Court shall send copies of the memorandum and

recommendation to the respective parties, who will then have fourteen days to file

written objections, pursuant to 28 U.S.C. § 636(b)(1)(C). Failure to file written

objections within the time period provided will bar an aggrieved party from attacking

the factual findings and legal conclusions on appeal. Douglass v. United Servs. Auto.

Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc), superseded by statute on


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other grounds.



Signed on January 23, 2025, at Houston, Texas.



                                                         Christina A. Bryan
                                                    United States Magistrate Judge




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